            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

AMY BRYANT, M.D., M.S.C.R.; BEVERLY            )
GRAY, M.D., ELIZABETH DEANS, M.D.,             )
on behalf of themselves and their patients     )
seeking abortions; and PLANNED                 )
PARENTHOOD SOUTH ATLANTIC, on                  )
behalf of itself, its staff and its patients   )
seeking abortions,                             )
                                               )
                        Plaintiffs,            )
                                               )
v.                                             )
                                               )     CIVIL ACTION NO.
JIM WOODALL, in his official capacity as       )       1:16-cv-01368
District Attorney (“DA”) for Prosecutorial     )
District (“PD”) 15B; SATANA DEBERRY, in        )
her official capacity as DA for PD 14; and     )
KODY KINSLEY, in his official capacity as      )
Secretary of the North Carolina Department     )
of Health and Human Services; and their        )
employees, agents, and successors,             )
                                               )
                        Defendants.            )


     DEFENDANTS’ BRIEF PURSUANT TO ORDER OF THE COURT




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                              INTRODUCTION

      On July 8, 2022, this Court requested briefing on whether the Court

“should enter an order pursuant to, inter alia, Federal Rule of Civil Procedure

60(b)(5)” concerning the injunction entered in this case. Doc. 109 at 2.

      Defendants do not seek modification or lifting of the injunction at the

present time. As previously explained in this litigation, the district-attorney

defendants do not presently intend to bring criminal charges based on

violations of the statute at issue regardless of whether an injunction is in place

that prevents such prosecutions. Thus, there is no indication that modifying

or lifting the injunction would have any effect on the statute’s enforcement.1

      Given this reality, the risk that modifying or lifting the injunction would

worsen public confusion in the immediate aftermath of the Supreme Court’s

recent disruption of decades of settled law counsels in favor of maintaining the

status quo. The Supreme Court’s decision in Dobbs v. Jackson Women’s Health

Organization, No. 19-1392 (U.S.) reversed nearly fifty years of settled Supreme

Court precedent regarding the existence of an individual constitutional right



1     On January 1, 2022, Kody Kinsley was appointed as the Secretary of the
North Carolina Department of Health and Human Services. Pursuant to Fed.
R. Civ. P. 25(d), Secretary Kinsley is automatically substituted as a party
defendant for all claims asserted against Secretary Cohen in her official
capacity as former Secretary of the North Carolina Department of Health and
Human Services.
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to pre-viability abortion.   Since Dobbs, other states have acted rapidly to

severely restrict or eliminate access to abortion services. Lifting or modifying

the injunction in these circumstances would likely further confuse the public

about the legality and availability of abortion services in North Carolina, and

the risk of criminal prosecution to themselves and their healthcare providers.

      For these reasons, and because no defendant with direct enforcement

authority intends to take any action that would be affected by any action by

this Court, Defendants are not now seeking lifting or modification of the

injunction.

                               BACKGROUND

      On March 25, 2019, this Court enjoined the enforcement of section 14-

45.1(a) of the North Carolina General Statutes to the extent that the statute

prohibits pre-viability abortions. Doc. 84 at 47. The Court’s injunction was

principally based on the Supreme Court’s decades-old opinions in Roe v. Wade,

410 U.S. 113 (1973) and Planned Parenthood of Southeastern Pennsylvania v.

Casey, 505 U.S. 833, 846 (1992), which prohibited abortion restrictions pre-

viability. Because the North Carolina statute at issue purported to criminalize

all non-emergency abortions performed after 20 weeks, this Court held that

the statute operated as a total ban pre-viability and was therefore

unconstitutional. To bring North Carolina’s statutes into compliance with


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then-settled federal constitutional law, this Court enjoined the statute’s

enforcement pre-viability. Doc. 84 at 47.

        Just six weeks ago, the Supreme Court overruled Roe and Casey in Dobbs

v. Jackson Women’s Health Organization., No. 19-1392 (U.S.). In Dobbs, the

Supreme Court held that the previously well-established individual right to

pre-viability abortion is no longer protected by any federal constitutional

provision, including the Due Process Clause of the Fourteenth Amendment.

As a result, the Court held that the decades-old rulings in Roe and Casey “must

be overruled.” Slip op. at 5.

        On July 8, 2022, this Court requested briefing, by August 8, on the effect

of the Supreme Court’s ruling in Dobbs on the injunction in this case. Doc. 109

at 2.    On July 28, before the parties submitted the requested briefs, the

Legislative Leaders of the North Carolina General Assembly, Philip E. Berger

and Timothy K. Moore (in their official capacities), moved for leave to file an

amicus brief in this case. Doc. 114. In their motion, they correctly noted that

Defendants do not oppose their motion. Id. at 2. But their motion and brief

contain a number of misapprehensions that require correction. The Attorney

General voluntarily recused himself from the appeal in this case and has not

taken part in these post-judgment proceedings.          As a result, his public

statements are policy statements of a constitutional officer of North Carolina—


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not legal positions of the named Defendants. On the other hand, Defendants,

as they have been since the appeal, are represented by North Carolina

Department of Justice staff. Defendants’ positions are therefore reflected in

this filing.

                                 ARGUMENT

      The Supreme Court’s opinion in Dobbs represents an intervening change

in law. However, its immediate aftermath creates a significant risk of public

confusion that could be exacerbated by a court order whose effect would be

merely symbolic. As a result, there are countervailing considerations that

counsel against lifting the injunction at the present time.

      To come within Rule 60(b), there must be a showing of “timeliness, a

meritorious defense, a lack of unfair prejudice to the opposing party, and

exceptional circumstances.” Werner v. Carbo, 731 F.2d 204, 207 (4th Cir.

1984). Only after that showing has been made can the court consider, inter

alia, whether the underlying injunction “is based on an earlier judgment that

has been reversed or vacated.” Id.; see also United States v. Welsh, 879 F.3d

530, 536 (4th Cir. 2018). So while a court errs when it “refuses to modify an

injunction . . . in light of such changes [in either statutory or decisional law],”

Agostini v. Felton, 521 U.S. 203, 215 (1997), it must still be “satisfied that what

it has been doing has been turned through changed circumstances into an


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instrument of wrong.” Id. (quoting Sys. Fed’n No. 91, Ry. Emp. Dep’t, AFL-

CIO v. Wright, 364 U.S. 642, 647 (1961)); see also DeFilippis v. United States,

567 F.2d 341, 344 (7th Cir. 1977) (overruled on other grounds by United States

v. Chicago, 663 F.2d 1354 (7th Cir. 1981); Lubben v. Selective Serv. Sys., 453

F.2d 645, 650-51 (1st Cir. 1972).

      Dobbs represents an intervening change in decisional law that directly

affects the basis of the injunction in this case. But in the present circumstances

there are strong reasons to conclude that lifting the injunction, rather than

leaving it in place, would be the “instrument of wrong” that the Court should

seek to avoid. Accordingly, no defendant in this action requests that this Court

lift or modify the injunction at the present time.

      Most significantly, the Defendants who are responsible for enforcing the

challenged statute and who are bound by the injunction have made clear that

they will not bring criminal prosecutions under the statute, even if the

injunction is lifted. See, e.g., Bryant v. Woodall, No. 19-1685 (4th Cir.), Doc. 24

at 8-9. Because the challenged statute is one that carries criminal penalties,

the district-attorney defendants are the only defendants who are authorized to

enforce violations of it. N.C. Gen. Stat. §§ 7A-60, 61. Both of the district-

attorney defendants, however, have previously made clear—and reiterate

through this filing—that they have no present intention of initiating criminal


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prosecutions arising out of any alleged violations of section 14-45.1 as written,

even absent the injunction. Id. Since they are the only defendants whose

authority would be directly affected by the injunction, there is no indication

that lifting the injunction would have any practical effect on prosecutions.2

Nor is there any indication that any other district attorney with a reproductive

health facility in his or her jurisdiction would seek to enforce the statute. For

example, no district attorney has sought to intervene in this action seeking to

lift the injunction. Should such a request arise, this Court could consider it at

that time.

      Acting now, with no reasonable prospect that the statute will be enforced

at this time, would come at a significant cost. Until Dobbs was decided in June

of this year, nearly all women of child-bearing age in North Carolina had lived


2     The Fourth Circuit’s holding that the district-attorney defendants’ public
and sworn statements do not defeat standing for constitutional purposes does
not affect the analysis of whether the injunction against them should be lifted.
Bryant v. Woodall, 1 F.4th 280, 288-89 (4th Cir. 2021). The Fourth Circuit held
that these statements are insufficient to extinguish a credible threat of
enforcement for standing purposes only. Id. at 289. Here, however, the
“credible threat” standard has no application. Rather, the defendants who are
primarily burdened by the injunction are explaining to the Court that
modification of that injunction would not relieve them of any practical burden.
Therefore, while the district-attorney defendants’ statements do not defeat
standing, they do impact prudential considerations about the practical effects
of the equitable relief it imposes. See Whole Women’s Health v. Jackson, 142
S. Ct. 522, 536 (2021) (federal courts may enter “equitable relief against only
those officials who possess authority to enforce a challenged state law.”).

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their entire lives in possession of a constitutional right to pre-viability

abortion. The abrupt elimination of that constitutional right in Dobbs, and the

potential reinstatement of criminal penalties for providing or obtaining

previously legal healthcare, has given rise to substantial confusion and

uncertainty in North Carolina and elsewhere about the state of the law and

the risk of criminal prosecution for women and healthcare providers. Lifting

the injunction will likely worsen the public confusion that is inevitable from

such a profound reversal in the law.




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                                  CONCLUSION

      Lifting the injunction, after nearly fifty years in which the existence of a

constitutional right to abortion was settled law, will inevitably create a

substantial risk of further public confusion. The only Defendants who have

any direct enforcement role with respect to the challenged statute have no

intention to exercise that enforcement authority, nor has any other district

attorney with enforcement responsibility over the statute indicated they would

either.

      For these reasons, Defendants do not seek lifting or modification of the

injunction at the present time.

      Respectfully submitted this 8th day of August 2022.


                                     /s/ Leslie Cooley Dismukes


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                                     Counsel for the Defendants



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                    CERTIFICATE OF COMPLIANCE


      This is to certify that the foregoing document is in compliance with Local

Rule 7.3(d)(1) of the Rules of the United States District Court for the Middle

District of North Carolina and this Court’s July 8 Order and does not exceed

4,000 words.

      This the 8th day of August 2022.


                                    /s/ Leslie Cooley Dismukes


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                        CERTIFICATE OF SERVICE

      This is to certify that, on the 8th day of August 2022, I electronically filed

the foregoing with the Clerk of Court, using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record who have appeared in

this case.

                                      /s/ Leslie Cooley Dismukes


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